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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF NEBRASKA


MELANIE DAVIS,
                                                  Case No. _______________
               Plaintiff,

v.
                                                             COMPLAINT
OLD MARKET REAL ESTATE LLC,
                                                         Injunctive Relief Sought
               Defendant



       Plaintiff Melanie Davis, by and through the undersigned counsel, brings this ac-
tion against Old Market Real Estate LLC, a Nebraska limited liability company, for vio-
lations of the Americans With Disabilities Act, 42 U.S.C. § 12181, et seq. (the “ADA”)
and its implementing regulations, and alleges as follows:

                                   INTRODUCTION

       1.      Plaintiff brings this civil rights action against Defendant for failing to de-
sign, construct, and/or own or operate facilities that are fully accessible to, and inde-
pendently usable by, persons with disabilities.
       2.      Defendant owns the ice cream shop known as “Ted & Wally’s”, which to
the extent was constructed and first occupied after January 26, 1993 or was altered after
January 26, 1993 was required to be designed and constructed to be readily accessible to
persons with disabilities. To the extent “Ted & Wally’s” was not constructed or altered
before January 26, 1993, Defendant was required to remove barriers to access to the ex-
tent barrier removal was readily achievable. “Ted & Wally’s” contains architectural bar-
riers to accessibility.


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       3.     The violations alleged in this complaint occurred at “Ted & Wally’s”, lo-
cated at 1120 Jackson St, Omaha, NE 68102.
       4.     Defendant’s failure to provide equal access to “Ted & Wally’s” violates the
mandates of the ADA to provide full and equal enjoyment of a public accommodation’s
goods, services, facilities, privileges, and advantages.
       5.     Defendant’s conduct constitutes an ongoing and continuous violation of the
law.
       6.     Accordingly, Plaintiff seeks a declaration that Defendant’s facilities violate
federal and an injunction requiring Defendant to make modifications to the facilities so
that they are fully accessible to, and independently usable by, individuals with disabili-
ties. Plaintiff further requests that the Court retain jurisdiction over this matter for a peri-
od to be determined to ensure that Defendant continues to comply with the relevant
requirements of the ADA.

                            JURISDICTION AND VENUE

       7.     Jurisdiction of this Court arises under 28 U.S.C. §§ 1331 and 1343(a)(3).
This action includes federal law claims brought pursuant to Title III of the Americans
with Disabilities Act, 42 U.S.C. §§ 12181–12189. The Court has the jurisdiction to issue
a declaratory judgment pursuant to 28 U.S.C. § 2201 and Fed R. Civ. P. 57.
       8.     Venue in this judicial district is proper because Defendant is located and
transacts business within this judicial district and has sufficient contacts to be subject to
personal jurisdiction in this judicial district, and because this is the judicial district in
which the acts and omissions giving rise to the claims occurred.




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                                       PARTIES

       9.     Plaintiff Melanie Davis is a resident of Omaha, Nebraska. Plaintiff Davis
grew up in Omaha, Nebraska and lived there until she moved to Minnesota in 2005.
While living in Minnesota, she visited Omaha many times, including five visits in 2016-
2017. She moved back to Omaha in 2017, where she now resides.
       10.    Plaintiff Melanie Davis suffers from, and all times relevant hereto has suf-
fered from, Cerebral Palsy, a condition that substantially limits her ability to walk and
stand and is therefore a legal disability as defined by the ADA, 42 U.S.C. § 12102(2).
Plaintiff is therefore a member of a protected class under the ADA, under the regulations
implementing the ADA set forth at 28 C.F.R. § 36.101 et seq. As a person with a disabil-
ity, Plaintiff Davis has a personal interest in having full and equal access to places of
public accommodation and to the goods, services, facilities, privileges, advantages or
other things offered therein.
       11.    Defendant Old Market Real Estate LLC a Nebraska limited liability com-
pany, is the owners and lessor of the real property and improvements which are the sub-
ject of this action, the ice cream shop known as “Ted & Wally’s”, a place of public
accommodation within the meaning of the ADA, located at the street addresses of 1120
Jackson St, Omaha, NE 68102.

                                FACTUAL BACKGROUND

       12.    On February 17, 2018 Plaintiff Davis attempted to patronize the ice cream
shop known as “Ted & Wally’s” in Omaha, Nebraska.
       13.    When Plaintiff visited “Ted & Wally’s” she found approximately 19 total
parking spaces in the customer parking lot and 0 parking spaces reserved through paint or
signage for people who have disabilities.
       14.    Plaintiff found 0 van accessible parking spaces.
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       15.      Plantiff found that the maneuvering clearance on the exterior side of the en-
trance to “Ted & Wally’s” was sloped.
       16.      A photograph in Exhibit A to this Complaint depicts the main entrance to
“Ted & Wally’s” as it appeared on the day of Plaintiff’s February 17, 2018 visit.
       17.      In light of the architectural barriers at “Ted & Wally’s”, Plaintiff is deterred
from visiting “Ted & Wally’s” in the future. Plaintiff Davis intends to return to “Ted &
Wally’s”, but these architectural barriers deter her from doing so. She plans to return and
patronize “Ted & Wally’s” when she learns that the premises have been made fully ac-
cessible to persons who use wheelchairs for mobility.
       18.      Plaintiff is a resident of Omaha, Nebraska, and she plans to continue visit-
ing local Omaha businesses in the future and would enjoy being able to patronize “Ted &
Wally’s”.
       19.      Plaintiff attempted to access Defendant’s premises but could not do so in-
dependently on a full and equal basis because of her disabilities, due to the physical bar-
riers to access and violations of the ADA that exist at Defendant’s premises. As a result
of Defendant’s non-compliance with the ADA, Plaintiff cannot independently access the
facilities and/or is excluded from full and equal enjoyment of the goods, services, privi-
leges, advantages, and/or accommodations offered therein.

              THE ADA AND ITS IMPLEMENTING REGULATIONS

       20.      On July 26, 1990, President George H.W. Bush signed into law the ADA,
42 U.S.C. § 12101, et seq., a comprehensive civil rights law prohibiting discrimination on
the basis of disability. In its findings, Congress determined that, among other things:
             a. Some 43 million Americans have one or more physical or mental disabili-
                ties, and this number is increasing as the population as a whole grows older;



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             b. Historically, society has tended to isolate and segregate individuals with
                disabilities, and, despite some improvements, discrimination against indi-
                viduals with disabilities continues to be a serious and pervasive social prob-
                lem;
             c. Discrimination against individuals with disabilities persists in such critical
                areas as employment, public housing accommodations, education, transpor-
                tation, communication, recreation, institutionalization, health services, vot-
                ing, and access to public services;
             d. Individuals with disabilities continually encounter various forms of dis-
                crimination; and
             e. The continuing existence of unfair and unnecessary discrimination and
                prejudice denies people with disabilities the opportunity to compete on an
                equal basis and to pursue those opportunities for which our society is justly
                famous, and costs the United States billions of dollars in unnecessary ex-
                penses resulting from dependency and nonproductivity.

42 U.S.C. § 12101(a)(1)–(3), (5), (9).

       21.      Congress explicitly stated that the purpose of the ADA was to:
             a. Provide a clear and comprehensive mandate for the elimination of discrimi-
                nation against individuals with disabilities;
             b. Provide clear, strong, consistent, enforceable standards addressing discrim-
                ination against individuals with disabilities; and
             c. Invoke the sweep of congressional authority, including the power to en-
                force the Fourteenth Amendment and to regulate commerce, in order to ad-




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              dress the major areas of discrimination faced day-to-day by individuals
              with disabilities.
42 U.S.C. § 12101(b)(1), (2), (4).
       22.    Title III of the ADA prohibits discrimination in the activities and facilities
of places of public accommodation, and requires places of public accommodation to
comply with ADA standards and to be readily accessible to, and independently usable by,
individuals with disabilities. 42 U.S.C. § 12181–89.
       23.    The ADA provided places of public accommodation one and one half years
from its enactment to implement its requirements. The effective date of Title III of the
ADA was January 26, 1992 (or January 26, 1993 if a business had 10 or fewer employees
and gross receipts of $500,000 or less). 42 U.S.C. § 2181; 28 C.F.R. § 36.508(a).
       24.    Pursuant to the mandates of 42 U.S.C. § 12134(a), the Department of Jus-
tice (“DOJ”) promulgated federal regulations to implement the requirements of Title III
of the ADA, which are codified at 28 C.F.R. Part 36. Appendix A of the 1991 Title III
regulations (republished as Appendix D to 28 C.F.R. Part 36) contains the ADA Stand-
ards for Accessible Design, which were based upon the ADA Accessibility Guidelines
(“1991 ADAAG”) published by the Access Board on the same date. Public accommoda-
tions were required to conform to these regulations by January 26, 1992 (or January 26,
1993 if a business had 10 or fewer employees and gross receipts of $500,000 or less). 42
U.S.C. § 12181, et seq.; 28 C.F.R. § 36.508(a).
       25.    In 1994, the Access Board began the process of updating the 1991 ADAAG
by establishing a committee composed of members of the design and construction indus-
tries, the building code community, and State and local government entities, as well as
individuals with disabilities.




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       26.      In 1999, based largely upon the report and recommendations of the adviso-
ry committee, the Access Board issued a notice of proposed rulemaking to update and
revise the 1991 ADAAG.
       27.      The Access Board issued final publication of revisions to the 1991
ADAAG on July 3, 2004.
       28.      On September 30, 2004, the DOJ issued an advance notice of proposed
rulemaking to begin the process of adopting the 2004 ADAAG revisions.
       29.      On June 17, 2008, the DOJ published a notice of proposed rulemaking cov-
ering Title III of the ADA.
       30.      The extended process of revising the 1991 ADAAG culminated with the
DOJ’s issuance of the 2010 Standards for Accessible Design (“2010 Standards”). The
2010 Standards incorporated the revised 2004 ADA Accessibility Guidelines
(“ADAAG”), as well as the requirements contained in subpart D of 28 C.F.R. Part 36.
The DOJ published the Final Rule detailing the 2010 Standards on September 15, 2010.
The 2010 Standards became effective on March 15, 2011.

                              FACTUAL ALLEGATIONS

       31.      Defendant has discriminated against Plaintiff on the basis of her disabilities
by failing to comply with the requirements of the ADA and the ADAAG with regard to
“Ted & Wally’s”. A specific, though not exclusive, list of unlawful physical barriers and
ADA violations present at “Ted & Wally’s” which limit the ability of persons in wheel-
chairs to access the facilities and/or to enjoy the goods, services, privileges, advantages
and/or accommodations offered therein on a full and equal basis, includes the following:
             a. The “Ted & Wally’s” customer parking lot had approximately 19 total
                parking spaces but had 0 parking spaces reserved for persons with disabili-
                ties that complied with ADAAG 502, in violation of ADAAG 208.2. Plain-

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               tiff requires accessible parking spaces which comply with all elements of
               502 (including location, width, length, signage, slope, and presence of an
               access aisle) to ensure she can park safely, make a safe transfer between her
               vehicle and wheelchair, and travel safely between the parking lot to the
               building entrance.
            b. The “Ted & Wally’s” customer parking lot had 0 van parking spaces com-
               plying with ADAAG 502, in violation of ADAAG 208.2.4.
            c. The maneuvering clearance on the exterior side of the main entrance to
               “Ted & Wally’s” had slopes steeper than 1:48, in violation of ADAAG
               404.2.4.4. Plaintiff needs a level surface to open the door and navigate the
               doorway.
            d. The inaccessible entrance at “Ted & Wally’s” lacked signage indicating the
               location of an accessible entrance, in violation of ADAAG 216.6. Plaintiff
               requires directional signage to help her find accessible entrances when en-
               trances do not accommodate wheelchair users.
            e. Fewer than 60% of the “Ted & Wally’s” entrances were accessible and
               complied with the requirements of ADAAG Chapter 4, in violation of
               ADAAG 206.4.1.
      32.      The above listing is not to be considered all-inclusive of the barriers and
violations of the ADA encountered by Plaintiff or which exist at “Ted & Wally’s”. To
qualify as an accessible parking facility and for a parking space to qualify an accessible
parking space, the space must be located on an accessible route, the route must be the
shortest accessible route, the space must be marked by appropriate signage, the space
must be flanked by an access aisle, and the space and access aisle must comply with
sloping requirements. ADAAG 206; 208; 216, Chapter 4 including but not limited to


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402, 403, 404, 405, and 406; and 502 – including, but not limited to, 502.4 which gov-
erns the floor or ground surfaces of both parking spaces and access aisles.
      33.    In order to fully remedy the discriminatory conditions, Plaintiff requires an
inspection of “Ted & Wally’s” in order to photograph and measure all such barriers to
access and violations of the ADA and the ADAAG.
      34.    Compliance with the ADA standards, and the ADAAG is required by 42
U.S.C §§ 12182 and 12183 to the extent the facility was designed and constructed or al-
tered after January 26, 1993, and the violations to the ADAAG requirements are not a
result of compliance being structurally impracticable. 28 C.F.R § 36.401(a)(1).
      35.    In the alternative, to the extent any architectural elements were constructed
prior to that date, compliance with the ADA standards and the ADAAG is required by
42 U.S.C § 12182(b)(2)(A)(iv) because removal of architectural barriers is readily
achievable. Compliance with the ADA standards and the ADAAG is readily achievable
by Defendant due to the lack of difficulty and low cost of remedying the above-listed
barriers. Some of the above-listed violations can be remedied through the same measures
prescribed by federal regulation as examples of modifications that are “readily achieva-
ble”, including, but not limited to, creating accessible parking spaces. 28 C.F.R. §
36.304(b).
      36.    Compliance is also readily achievable due to the significant assistance
available to businesses. Section 44 of the IRS Code allows a Disabled Access tax credit
for small businesses with 30 or fewer full-time employees or with total revenues of $1
million or less, which is intended to offset the cost of undertaking barrier removal and
alterations to improve accessibility. Section 190 of the IRS Code provides a tax deduc-
tion for businesses of all sizes for costs incurred in removing architectural barriers, up to
$15,000.     See      ADA       Update:      A      Primer      for     Small      Business,


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http://www.ada.gov/regs2010/smallbusiness/smallbusprimer2010.htm#tax             (Mar.    16,
2011).
         37.   As a person with a disability, Plaintiff has a personal interest in having full
and equal access to places of public accommodation and to the goods, services, facili-
ties, privileges, advantages or other things offered therein.
         38.   Without injunctive relief, Defendant’s failure to remove accessibility barri-
ers will continue to cause injury to Plaintiff, who will continue to be unable to inde-
pendently access “Ted & Wally’s” and/or to enjoy the goods, services, privileges,
advantages and/or accommodations offered therein on a full and equal basis, in violation
of her rights under the ADA.

                          FIRST CAUSE OF ACTION
     Violations of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq.

         39.   Plaintiff incorporates and realleges the above paragraphs.
         40.   Section 302(a) of Title III of the ADA, 42 U.S.C. §§ 12101 et seq., pro-
vides:

               No individual shall be discriminated against on the basis of
               disability in the full and equal enjoyment of the goods, ser-
               vices, facilities, privileges, advantages, or accommodations of
               any place of public accommodation by any person who owns,
               leases (or leases to), or operates a place of public accommo-
               dation.

         41.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimina-
tion to deny individuals with disabilities an opportunity to participate in or benefit from
the goods, services, facilities, privileges, advantages, or accommodations that is equal to
the opportunities afforded to other individuals.
         42.   Defendant has discriminated against Plaintiff and others in that it failed to
make its place of public accommodation fully accessible to persons with disabilities on a
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full and equal basis in violation of 42 U.S.C. § 12182(a) and the regulations promulgated
thereunder, including the ADAAG, as described above. Plaintiff has been denied full and
equal access to “Ted & Wally’s” and/or has been denied the opportunity to participate in
or benefit from the goods, services, facilities, privileges, advantages, or accommodations
on a full and equal basis.
       43.    Defendant has failed to take any prompt and equitable steps to remedy its
discriminatory conduct. Defendant’s violations of the ADA and ADAAG are ongoing.
       44.    Defendant has failed to remove architectural barriers to full and equal ac-
cess by Plaintiff, even though removing the barriers was required and is readily achieva-
ble.
       45.    Plaintiff plans to visit “Ted & Wally’s” again in the near future. Plaintiff is
without adequate remedy at law, has suffered and is suffering irreparable harm, and rea-
sonably anticipates that she will continue to suffer irreparable harm upon her planned re-
turn visit to “Ted & Wally’s” unless and until Defendant is required to remove the
physical barriers to access and ADA violations that exist at Defendant’s place of public
accommodation, including those set forth specifically herein.
       46.    This Court has authority under 42 U.S.C. § 12188 to grant Plaintiff injunc-
tive relief, including an order requiring Defendant to make “Ted & Wally’s” readily ac-
cessible to and independently usable by individuals with disabilities to the extent required
by the ADA and ADAAG, and/or to close “Ted & Wally’s” until such time as Defendant
cures the access barriers.
       47.    Plaintiff has retained the undersigned counsel for the filing and prosecution
of this action, and is entitled to recover reasonable attorneys’ fees, litigation expenses and
costs from Defendant, pursuant to 42 U.S.C. §§ 12205, 12117, and 28 C.F.R. § 36.505.




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WHEREFORE, Plaintiff respectfully requests:

         a. Plaintiff demands a trial in Omaha, Nebraska.
         b. That the Court issue a Declaratory Judgment that determines that Defend-
            ant’s facilities, at the commencement of the instant suit, are in violation of
            Title III of the ADA, 42 U.S.C. § 12181, et seq., and the relevant imple-
            menting regulations including the ADAAG.
         c. That the Court award nominal damages.
         d. That the Court issue a permanent injunction, pursuant to 42 U.S.C.
            § 12188(a)(2) and 28 C.F.R. § 36.504(a), enjoining Defendant from contin-
            uing its discriminatory practices; including an order directing Defendant to
            remove all barriers to the maximum extent feasible or in the alternative
            make all readily achievable alterations to its facilities so as to remove phys-
            ical barriers to access and make its facilities fully accessible to and inde-
            pendently usable by individuals with disabilities to the extent required by
            the ADA; and also including an order requiring Defendant to make all rea-
            sonable modifications in policies, practices or procedures necessary to af-
            ford all offered goods, services, facilities, privileges, advantages or
            accommodations to individuals with disabilities on a full and equal basis.
         e. That the Court award Plaintiff her reasonable attorneys’ fees, litigation ex-
            penses, and costs of suit pursuant to 42 U.S.C. § 12205 and 28 C.F.R.
            § 36.505, or as otherwise provided by law; and
         f. That the Court issue such other relief as it deems just and proper, and/or is
            allowable under Title III of the ADA.




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DATED: April 11, 2018

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